Case 2:05-cr-20352-BBD          Document 103       Filed 08/27/07     Page 1 of 1      PageID 122




                       UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF TENNESSEE
                              WESTERN DIVISION
 _____________________________________________________________________________

 UNITED STATES OF AMERICA

 v.                                                   No. 05cr20352
                                                          05cr20349
 LANELL SMITH
 ____________________________________________________________________________

                 ORDER REFUNDING CASH APPEARANCE BOND
 ____________________________________________________________________________

          This matter comes before the Court on a motion for refund of the cash appearance bond. It

 now appears that the defendant has complied with the requirements of said bond and orders of this

 Court.

          IT IS THEREFORE ORDERED that the appearance bond for this defendant be canceled and

 discharged; and the Clerk is directed to issue a check on the Registry in the sum of $1,000.00

 payable to Lanell Smith to the address of 3220 Emerald Street, Memphis, Tennessee 38115 in full

 refund of the cash appearance bond posted herein.

                                               s/BERNICE DONALD
                                               United States District Judge
                                               August 27, 2007

 Approved.
 Thomas M. Gould, Clerk of Court

 By: s/Terry Haley______________
 Deputy Clerk
